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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         PANAMA CITY DIVISION

RESTORE ROBOTICS, LLC,
and RESTORE ROBOTICS
REPAIRS, LLC,

      Plaintiffs,

v.                                                Case No. 5:19cv55-TKW-MJF

INTUITIVE SURGICAL, INC.,

     Defendant.
____________________________/

                    ORDER DENYING MOTION TO DISMISS

      This case is before the Court on Plaintiffs’ motion to dismiss Count Six of

Defendant’s amended counterclaims (Doc 50). Upon due consideration of the

motion and Defendant’s response in opposition (Doc. 52), the Court finds that the

motion is due to be denied because Count Six plausibly states a claim under the

Computer Fraud and Abuse Act (CFAA), 18 U.S.C. §1030(g).

      Unlike the original version of this counterclaim in which Defendant failed to

plausibly allege that it suffered damage (or loss) resulting from Plaintiffs alleged

violation the CFAA through their “attempted hack” of the computer system in

Defendant’s surgical robots, see Doc. 44, at 17, the amended counterclaim alleged

that “[i]n response to [Plaintiffs’] attempted hack, [Defendant’s] staff and outside

counsel were engaged to determine the scope of the potential intrusion and to assess
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and plan [Defendant’s] response, involving expenditures on legal services exceeding

$5,000,” Doc. 49, at 27 (¶59). This allegation, which must be accepted as true at

this stage of the case, is sufficient to establish that Defendant suffered a “loss” as a

direct result of Plaintiffs’ alleged violation of the CFAA.                  See 18 U.S.C.

§1030(e)(11) (defining “loss” to include “the cost of responding to an offense”);

Brown Jordan Int'l, Inc. v. Carmicle, 846 F.3d 1167, 1174 (11th Cir. 2017) (holding

that “[the plaintiff’s] loss from [the defendant’s] violation of the CFAA does not

need to be related to an interruption of service in order to be compensable”); Aquent

LLC v. Stapleton, 65 F. Supp. 3d 1339, 1345 (M.D. Fla. 2014) (“[The plaintiff’s]

alleged loss of the cost of responding to an offense and conducting a damage

assessment does not need to be connected to interruption of service to state a claim

under the CFAA.”).

         Accordingly, it is ORDERED that the motion to dismiss is DENIED.1

         DONE and ORDERED this 7th day of January, 2020.

                                             T. Kent Wetherell, II
                                            T. KENT WETHERELL, II
                                            UNITED STATES DISTRICT JUDGE




     1
       The Court rejects the “renewed” arguments in the motion to dismiss for the reasons stated
in Defendant’s response. See Doc. 52, at 10-11.
